          Case 3:22-mj-01360-MDD Document 1 Filed 04/18/22 PageID.1 Page 1 of 5


                             UNITED STATES DISTRICT COURT
 1

 2                         SOUTHERN DISTRICT OF CALIFORNIA
 3   UNITED STATES OF AMERICA,                       Case No.:   '22 MJ01360
 4
                                  Plaintiff,
 5                                                   COMPLAINT FOR VIOLATION OF

 6          V.
                                                     Title 21 U.S.C. §§ 952 and 960
 7                                                   Importation of a Controlled Substance
     Gerardo FERNANDEZ LEYVA,                        (Felony)
 8
                               Defendant.
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11
           The undersigned complainant being duly sworn states:
12
                                               COUNT I
13         On or about April 15, 2022, within the Southern District of California, Gerardo
14
     FERNANDEZ LEYVA, did knowingly and intentionally import a mixture and substance
15
16 containing    a   detectable     amount     of   N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

17 propanamide (commonly known as fentanyl), a Schedule II Controlled Substance, into the
18
   United States from a place outside thereof, in violation of Title 21, United States Code,
19
20 Sections 952 and 960.
21                                             COUNT2
22               On or about April 15, 2022, within the Southern District of California, Gerardo

23 FERNANDEZ LEYVA, did knowingly and intentionally import a mixture and substance
24
     containing a detectable amount of methamphetamine, a Schedule II Controlled Substance,
25
26 into the United States from a place outside thereof, in violation of Title 21, United States

27 Code, Sections 952 and 960.
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          Case 3:22-mj-01360-MDD Document 1 Filed 04/18/22 PageID.2 Page 2 of 5



 1         The complainant states that this complaint is based on the attached Statement of Facts
 2
     incorporated herein by reference.
 3
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 6
 7   Sworn and attested to under oath by telephone, in accordance with Federal Rule of Criminal
 8 Procedure 4.1 , this 18th of April 2022.
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                                                      /dt ~ ~- ~ L
                                                  HON. MITCHELL D. DEMBIN
                                                  U.S. MAGISTRATE JUDGE
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      Case 3:22-mj-01360-MDD Document 1 Filed 04/18/22 PageID.3 Page 3 of 5




                            PROBABLE CAUSE STATEMENT
 2

 3
           I, Special Agent Michael Hope, declare under penalty of perjucy, the
 4
     following is true and correct:
 5

 6         On April 15, 2022, at approximately 3 :00 PM, Gerardo FERNANDEZ
 7
     LEYVA, ("FERNANDEZ"), a border crosser and Mexican national, applied for
 8

 9
     entry into the United States from Mexico through the San Ysidro Port of Entry in

10   vehicle lane #10. FERNANDEZ was the driver, sole occupant, and registered owner
11
     of a 2010 Ford Mustang ("the vehicle") bearing Mexican license plates.
12

13         A Customs and Border Protection Officer received two negative Customs
14
     declarations from FERNANDEZ. FERNANDEZ stated he was crossing the border
15

16
     to go to San Ysidro, California.     The officer inspected the vehicle and found

17   packages concealed within the passenger side quarter panel. The officer referred the
18
     vehicle to the vehicle secondary area for further inspection.
19

20         A Canine Enforcement Team was conducting secondary inspection operations
21
     when the Human and Narcotic Detection Dog alerted to the dashboard of the vehicle.
22
                  Further inspection of the vehicle resulted in the discovery of 91 total
23

24   packages concealed in the dashboard and trunk area of the vehicle. 77 of the
25
     packages contained a substance, a sample of which field tested positive for the
26

27   characteristics offentanyl, with a total approximate weight of 29.94 kgs (66.0 lbs);
28
      Case 3:22-mj-01360-MDD Document 1 Filed 04/18/22 PageID.4 Page 4 of 5




     14 of the packages contained a substance, a sample of which field tested positive for

 2   the characteristics of methamphetamine, with a total approximate weight of 7 .94 kgs
 3
     (17.5 lbs).
 4

 5          FERNANDEZ was placed under arrest at approximately 6:05PM.
 6
            During a post-Miranda interview, FERNANDEZ denied knowledge that the
 7
     narcotics were in the vehicle. FERNANDEZ stated that he was going to Plaza Las
 8

 9   Americas outlet mall to go shopping. FERNANDEZ stated he had not used the
10
     vehicle for a week prior to his attempted crossing, and the vehicle had been stored
11

12   at his neighbor's house.
13
            FERNANDEZ was arrested and charged with a violation of Title 21, United
14
     States Code, 952 and 960, importation of a controlled substance.
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17
            Executed on April 15, 2022, at 11 :34PM.
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                   ~+rr--==
           Michael Hope, HSI Special Agent
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      Case 3:22-mj-01360-MDD Document 1 Filed 04/18/22 PageID.5 Page 5 of 5




           On the basis of the facts presented in this probable cause statement consisting

 2   of 2 pages, I find probable cause to believe the defendant, Gerardo FERNANDEZ
 3
     LEYVA named in this probable cause statement, committed the offense on April 15,
 4

 5   2022, in violation of Title 21 USC 952 and 960, Unlawful Importation of a
 6
     Controlled Substance.
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10                                                      7:54 AM, Apr 16, 2022

II

12         HON. MITCHELL D. DEI\.-ffiIN                  Date/Time

13
           United States Magistrate Judge
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